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                          IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    ) (Jointly Administered)
                                             Debtors.               )
                                                                    )

                 AMENDED2 NOTICE OF AGENDA OF MATTERS
               SCHEDULED FOR HEARING ON JANUARY 10, 2024
            AT 1:00 P.M. (EASTERN TIME) BEFORE THE HONORABLE
    THOMAS M. HORAN IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
    STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801



       This hearing will be conducted in person. All participants (including witnesses) at an in-
    person hearing are required to attend in person, except that remote participation at an in-person
        hearing is permitted for: (i) counsel for a party or a pro se litigant that files a responsive
    pleading and intends to make only a limited argument; (ii) a party or a representative of a party
     that has not submitted a pleading but is interested in observing the hearing; (iii) any party that
           is proceeding, in a claims allowance dispute, on a pro se basis; or (iv) extenuating
          circumstances that warrant remote participation as may be determined by the Court.

            If remote participation is permitted, please register using the eCourt Appearance
    tool at https://ecf.deb.uscourts.gov/cgi-bin/nysbAppearances.pl or on the Court’s website
                                      at www.deb.uscourts.gov

             The deadline to register for remote attendance is 4:00 p.m. (prevailing Eastern
    Time) on January 9, 2024. An electronic invitation, with the relevant audio or video link,
     will be emailed to you prior to the hearing. Please do not contact the Court to confirm
                                            registration.

                                CourtCall will NOT be used for this hearing.




1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
Suite 225, Unit 236, Chandler, AZ 85225.

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    Amended items appear in bold.


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MATTER GOING FORWARD

1.       Committee Standing Motion – Motion of the Official Committee of Unsecured
         Creditors of AmeriFirst Financial, Inc., et al. for an Order Granting (I) Leave, Standing,
         and Authority to Commence and Prosecute Certain Claims on Behalf of the Debtors’
         Estates and (II) Exclusive Settlement Authority in Respect of Such Claims [Filed:
         11/21/23] (Docket No. 470).

         Response Deadline: December 5, 2023 at 4:00 p.m. Eastern Time. Extended to
         December 7, 2023 at 5:00 p.m. Eastern Time for the Debtors.

         Responses Received:

         a) Objection of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
            Customized Credit Fund (Fund IV-A), L.P. to the Motion of the Official Committee
            of Unsecured Creditors for Standing to Prosecute Claims and Exclusive Settlement
            Authority [D.I. 470] [Filed: 12/5/23] (Docket No. 509).

         b) Debtors’ Opposition to Motion of the Official Committee of Unsecured Creditors of
            AmeriFirst Financial, Inc., et al. for an Order Granting (I) Leave, Standing, and
            Authority to Commence and Prosecute Certain Claims on Behalf of the Debtors’
            Estates and (II) Exclusive Settlement Authority in Respect of Such Claims [Filed:
            12/7/23] (Docket No. 514).

         Replies Filed:

         a) Omnibus Reply of the Official Committee of Unsecured Creditors of AmeriFirst
            Financial, Inc., et al. in Support of Its Motion for an Order Granting (I) Leave,
            Standing, and Authority to Commence and Prosecute Certain Claims on Behalf of the
            Debtors’ Estates and (II) Exclusive Settlement Authority in Respect Of Such Claims
            [Filed: 12/14/23] (Docket No. 538).

         Related Documents:

         a) Certification of Counsel Regarding Order Approving Stipulation Extending Response
            and Reply Deadlines [Filed: 12/6/23] (Docket No. 510).

         b) [Signed] Order Approving Stipulation Extending Response and Reply Deadlines
            [Filed: 12/6/23] (Docket No. 511).

         c) Notice of Hearing Date Regarding Motion of the Committee of Unsecured Creditors
            of AmeriFirst Financial, Inc., et al. for an Order Granting (I) Leave, Standing, and
            Authority to Commence and Prosecute Certain Claims on Behalf of the Debtors’
            Estates and (II) Exclusive Settlement Authority in Respect of Such Claims [Filed:
            1/3/24] (Docket No. 592).

         d) Official Committee of Unsecured Creditors’ Deposition Designations in Support
            of Hearing on the Standing Motion [Filed: 1/8/24] (Docket No. 602).

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         Witness & Exhibit Lists:

         a) Debtors’ Witness and Exhibit List for Hearing on December 18, 2023 at 10:00 a.m.
            (ET) [Filed: 12/14/23] (Docket No. 533).

         b) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
            December 18, 2023 Hearing [Filed: 12/14/23] (Docket No. 534).

         c) Witness and Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund III),
            L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. for the Hearing on
            December 18, 2023 at 10:00 a.m. (ET) [Filed: 12/14/23] (Docket No. 537).

         d) Amended Witness and Exhibit List of the Official Committee of Unsecured Creditors
            for December 18, 2023 Hearing [Filed: 12/14/23] (Docket No. 541).

         e) Debtors’ Amended Witness and Exhibit List for Hearing on December 18, 2023 at
            10:00 a.m. (ET) [Filed: 12/15/23] (Docket No. 549).

         f) Debtors’ Second Amended Witness and Exhibit List for Hearing on December 18,
            2023 at 10:00 a.m. (ET) [Filed: 12/15/23] (Docket No. 551).

         g) Second Amended Witness and Exhibit List of the Official Committee of Unsecured
            Creditors for December 18, 2023 Hearing [Filed: 12/18/23] (Docket No. 553).

         h) Third Amended Witness and Exhibit List of the Official Committee of Unsecured
            Creditors for December 18, 2023 Hearing [Filed: 12/18/23] (Docket No. 556).

         Status: The continued hearing on this matter will go forward.


Dated: January 9, 2024                  PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                                        /s/ Laura Davis Jones
                                        Laura Davis Jones (DE Bar No. 2436)
                                        David M. Bertenthal (CA Bar No. 167624)
                                        Timothy P. Cairns (DE Bar No. 4228)
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, Delaware 19899-8705 (Courier 19801)
                                        Telephone: 302-652-4100
                                        Facsimile: 302-652-4400
                                        Email: ljones@pszjlaw.com
                                                dbertenthal@pszjlaw.com
                                                tcairns@pszjlaw.com

                                        Counsel to the Debtors and Debtors in Possession



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